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                       UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                             EASTERN DIVISION




 IN RE BIG LOTS, INC.                         JUDGE^li/lfcHAEL K^WATSON
 SHAREHOLDER LITIGATION                       MAGISTRATE JUDGE JOLSON



                                       ORDER


       It Is hereby ordered that all future filings In any member case to this

 consolidated action be filed In the lead case, 2:12-cv-445.

       IT IS SO ORDERED.




                                         IICHAEL H. WATSON, JUDGE
                                        UNITED STATES DISTRICT COURT
